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SOUTHERN DISTRICT OF MISSISSPDT
FILED
IN THE UNITED STATES DISTRICT COURT MAY 12 2020
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION i mee
UNITED STATES OF AMERICA
v. CRIMINALNO. [:A0 *RAK-HSO-ICG
ANTONY DANIEL ABREU 21 U.S.C. § 846
a/k/a Anthony Abreu, 21 U.S.C. § 841(a)(1)
CHRISTOPHER Q. NGUYEN, and
DARRELL YOUNG
The Grand Jury charges:

COUNT 1

That beginning at least as early as March 2020 and continuing up to April 20, 2020, in
Harrison County, in the Southern Division of the Southern District of Mississippi, and elsewhere,
the defendants, ANTONY DANIEL ABREU a/k/a Anthony Abreu, CHRISTOPHER Q.
NGUYEN, and DARRELL YOUNG, did knowingly conspire with each other and others both
known and unknown to the Grand Jury, to possess with intent to distribute a mixture or
substance containing a detectable amount of cocaine, a Schedule II controlled substance, in
violation of Title 21, United States Code, Section 841(a)(1).

All in violation of Title 21, United States Code, Section 846.

QUANTITY OF CONTROLLED SUBSTANCES INVOLVED IN THE
CONSPIRACY

With respect to ANTONY DANIEL ABREU a/k/a Anthony Abreu, the amount
involved in the conspiracy attributable to him as a result of his conduct, and the conduct of other
conspirators reasonably foreseeable to him, is 5 kilograms or more of a mixture or substance

containing a detectable amount of cocaine, in violation of Title 21, United States Code, Section

841(b)(1)(A).
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With respect to CHRISTOPHER Q. NGUYEN, the amount involved in the conspiracy
attributable to him as a result of his conduct, and the conduct of other conspirators reasonably
foreseeable to him, is 5 kilograms or more of a mixture or substance containing a detectable
amount of cocaine, in violation of Title 21, United States Code, Section 841(b)(1)(A).

With respect to DARRELL YOUNG, the amount involved in the conspiracy attributable
to him as a result of his conduct, and the conduct of other conspirators reasonably foreseeable to
him, is 5 kilograms or more of a mixture or substance containing cocaine, in violation of Title
21, United States Code, Section 841(b)(1)(A).

COUNT 2

That beginning at least as early as March 2020 and continuing up to April 20, 2020, in
Harrison County, in the Southern Division of the Southern District of Mississippi, and elsewhere,
the defendants, ANTONY DANIEL ABREU a/k/a Anthony Abreu, CHRISTOPHER Q.
NGUYEN, and DARRELL YOUNG, aided and abetted by each other and others known and
unknown to the Grand Jury, did knowingly and intentionally attempt to possess with intent to
distribute 500 grams or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 846, and Title 18, United States
Code, Section 2.

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

As a result of committing the offenses as alleged in this Indictment, the defendant shall
forfeit to the United States all property involved in or traceable to property involved in the
offenses, including but not limited to all proceeds obtained directly or indirectly from the

offenses, and all property used to facilitate the offenses.
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The grand jury has determined that probable cause exists to believe that the following
property is subject to forfeiture as a result of one or more of the offenses alleged in this
indictment:

1) $201,564 U.S. Currency

Further, if any property described above, as a result of any act or omission of the
defendant: (a) cannot be located upon the exercise of due diligence; (b) has been transferred or
sold to, or deposited with, a third party; (c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or (e) has been commingled with other property,
which cannot be divided without difficulty, then it is the intent of the United States to seek a
judgment of forfeiture of any other property of the defendant, up to the value of the property
described in this notice or any bill of particulars supporting it.

All pursuant to Title 21, United States Code, Section 853.

D. MICHAEL HURSF, JR.
United States Attorney
A TRUE BILL:

s/Signature Redacted
Foreperson of the Grand Jury

This indictment was returned in open court by the foreperson or deputy foreperson of the

Grand Jury on this the _/,) "day of May, 2020.

UNITED STATES MAGISTRATE JUDGE

